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Name, Address, Telephone No. & I.D. No.
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5353 NV
UNITED STATES BANKRUPTCY COURT
District of Nevada
In Re
RONE CHANG

BANKRUPTCY NO.
CHAPTER NO. 13

Debtor(s)

DECLARATION RE: ELECTRONIC FILING OF PETITION
SCHEDULES, STATEMENTS AND PLAN (if applicable)

PART | - DECLARATION OF PETITIONER

| [We] _RONE CHANG _ and , the undersigned debtor(s) hereby declare under penalty of perjury
that the information | have given my attorney and the information provided in the electronically filed petition, statements,
schedules, amendments and plan (if applicable) as indicated above is true and correct. | consent to my attorney filing my
petition, this declaration, statements, schedules and plan (if applicable) as indicated above to the United States
Bankruptcy Court. | understand that this DECLARATION RE: ELECTRONIC FILING is to be filed with the Clerk once all
schedules have been filed electronically but, in no event, no later than 15 days following the date the petition was
electronically filed. | understand that failure to file the signed original of this DECLARATION will cause my case to be
dismissed pursuant to 11 U.S.C. § 707(a)(3) without further notice.

a if petitioner is an individual whose debts are primarily consumer debts and has chosen to file under
chapter 7 or 13. | am aware that | may proceed under chapter 7, 11, 12, or 13 of 11 United States Code,
understand the relief available under each such chapter, and choose to proceed under chapter 7 or 13. |
request relief in accordance with the chapter specified in this petition.

O [If petitioner is a corporation or partnership] | declare under penalty of perjury that the information
provided in this petition is true and correct, and that | have been authorized to file this petition on behalf of
the debtor. The debtor requests relief in accordance with the chapter specified in this petition.

Dated: July 24, 2024

Signed: /s/ RONE CHANG
RONE CHANG
(Applicant)
PART II - DECLARATION OF ATTORNEY
|, the attorney for the petitioner named in the foregoing petition, declare that, | have informed the petitioner that
[he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each such chapter.

Dated: July 24, 2024
"Signed: _/s! MICHAEL J. HARKER
MICHAEL J. HARKER 5353
Attorney for Debtor(s)

